Case 2:19-cv-00665-JAK-JPR Document 11 Filed 05/31/19 Page 1 of 1 Page ID #:115



   1   Roger C. Hsu - SBN 170589
       rchlaw@att.net
   2   Joseph M. Liu - SBN 220938
       joseph@liu.net
   3   LAW OFFICES OF ROGER C. HSU
       175 South Lake Avenue, Suite 210
   4   Pasadena, CA 91101
       Telephone: (626) 792-7936
   5   Facsimile: (626) 685-2859
   6   Attorneys for Plaintiff Interworks Unlimited, Inc.
   7
   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA

  10
  11
  12   Interworks Unlimited, Inc., )         Case No.    2:19-cv-00665
       a California corporation, )
  13                               )         NOTICE OF VOLUNTARY DISMISSAL
                Plaintiff,         )
  14                               )
            v.                     )
  15                               )
       Hangzhou Chic Intelligent )
  16   Technology Co., Ltd., a     )
       Chinese company,            )
  17                               )
                                   )
  18            Defendant.         )
                                   )
  19
             NOTICE IS HEREBY GIVEN that, pursuant to FRCP 41(a),
  20
       Plaintiff Interworks Unlimited, Inc. voluntarily dismisses
  21
       the above-captioned action without prejudice.
  22
  23
       DATED: May 30, 2019                      By: /s/ Joseph M. Liu
  24                                            Roger C. Hsu - SBN 170589
                                                Joseph M. Liu - SBN 220938
  25                                            Attorneys for
                                                Plaintiff Interworks
  26                                            Unlimited, Inc.
  27
  28

                                            1
                          NOTICE OF VOLUNTARY DISMISSAL
